          Case 1:24-cv-02205-FB-VMS Document 2 Filed 03/26/24 Page 1 of 2 PageID #: 19

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                               for the
                                                   Eastern District
                                                 __________         of of
                                                             District  New  York
                                                                          __________

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                                                                  )
                                                                  )
                                                                  )
                             Plaintiff(s)                         )
                                                                  )
                                 v.
                                                                  )      Civil Action No.FY
                                                                  )
%5$1'21 6'2187,1&DQG=*&2857//&                           )
                                                                  )
                                                                  )
                            Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address)

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           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are:
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        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.

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                                                                           CLERK OF COURT

             3/26/2024
 Date:
                                                                                       Signature of Cl
                                                                                                    Clerk or Deputy Clerk
           Case 1:24-cv-02205-FB-VMS Document 2 Filed 03/26/24 Page 2 of 2 PageID #: 20

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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
